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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                               Case No. 03-40142-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE,                         )
                                         )
                        Defendants.      )
________________________________________ )

                               MEMORANDUM ORDER AND OPINION

         This matter is before the Court on defendant Douglas Lake’s Motion to Dismiss (Doc.

888) and Supplemental Motion to Dismiss (Doc. 913) all counts of the First Superseding

Indictment (“Indictment”), and defendants’ Joint Supplemental Motion to Dismiss Count 40

(Doc. 926). Co-defendant David Wittig has joined in Lake’s motion and has filed a separate

Motion to Strike or Otherwise Conform Count 1 (Doc. 915). The government opposes

defendants’ motions (Docs. 933, 949). The Court heard argument on July 21, 2008, and took the

matter under advisement. After reviewing the parties’ arguments and submissions, the Court is

now prepared to rule. For the reasons stated below, the Court denies the motions with respect to

defendants’ claims based on the Double Jeopardy Clause.1



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           In addition to the double jeopardy claims, defendants request dismissal of Counts 2 through 15, the
Circumvention of Internal Control charges, for failure to state an offense. Defendants have represented that in the
event the Court denies their double jeopardy claims, they intend to file an interlocutory appeal to the Tenth Circuit
pursuant to United States v. Wood, 950 F.2d 638, 641-42 (10th Cir. 1991) (citing Abney v. United States, 431 U.S.
651, 662 (1977)). Accordingly, the Court will address the circumvention count issues that do not implicate the
Double Jeopardy Clause in a separate order. Likewise, the Court will separately address defendants’ other pretrial
motions that do not seek dismissal of the Indictment.
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I.      Background

        The facts and lengthy procedural history of this case are undisputed and the Court

assumes the reader is familiar with the Tenth Circuit opinion that precipitates the matters before

the Court, United States v. Lake.2 The Court will not restate the findings of the Tenth Circuit in

detail, but will provide excerpts from the opinion as needed to frame its discussion.

        The second trial against defendants resulted in guilty verdicts on all but a few counts, as

well as forfeiture of defendants’ interest in specific property. On January 5, 2007, the Tenth

Circuit dismissed with prejudice Counts 16 - 39, the wire fraud and money laundering counts,

and remanded the remaining counts, conspiracy, circumvention of internal controls and forfeiture

to this Court for retrial.3

        Defendants contend that the scope and specific findings of the Tenth Circuit’s decision

require all surviving allegations “be reviewed in a new light cast by that decision.” Specifically,

defendants argue that the government cannot so much as introduce evidence pertaining to the

now dismissed charges of wire fraud and money laundering without violating the Double

Jeopardy Clause of the United States Constitution. They further contend that same principle

requires the Court to strike those objects and overt acts listed in Count 1, the conspiracy charge,

that pertain to the substantive counts of wire fraud or money laundering. Yet defendants

acknowledge that the remanded conspiracy count charges conspiracy to commit wire fraud,

money laundering and circumvention of internal controls.




        2
         472 F.3d 1247 (10th Cir. 2007).
        3
         Id.

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II.    Analysis

       This case requires an examination of the related concepts of collateral estoppel and

double jeopardy. The Double Jeopardy Clause protects against multiple punishments for the

“same offense.”4 The Clause embodies two broad principles: protection against a second

prosecution for the same offense, whether after acquittal or conviction, and protection from

multiple punishments for the same crime.5 Collateral estoppel prevents a party from relitigating

an issue that has already been decided, and applies in criminal as well as civil cases.6

       “[T]he Double Jeopardy Clause attaches special weight to judgments of acquittal. A

verdict of not guilty, whether rendered by the jury or directed by the trial judge, absolutely

shields the defendant from retrial.”7 “A reversal based on the insufficiency of the evidence has

the same effect [as a not guilty verdict] because it means that no rational factfinder could have

voted to convict the defendant. . . . [W]hen a reversal [of a conviction] rests upon the ground that

the prosecution has failed to produce sufficient evidence to prove its case, the Double Jeopardy

Clause bars the prosecutor from making a second attempt at conviction.”8

       A substantive crime and a conspiracy to commit that crime are not the “same offense” for

double jeopardy purposes.9 Defendants do not assert that the Double Jeopardy Clause bars

outright the retrial on conspiracy. Instead, they argue that the collateral estoppel component of


       4
        North Carolina v. Pearce, 359 U.S. 711, 717 (1969).
       5
        Smith v. Dinwiddie, 510 F.3d 1180, 1186 (10th Cir. 2007).
       6
        Id. (citing United States v. Oppenheimer, 242 U.S. 85, 97 (1916)).
       7
        Tibbs v. Florida, 457 U.S. 31, 41 (1982).
       8
        Id. at 41-42.
       9
        United States v. Felix, 503 U.S. 378, 389 (1992).

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the Double Jeopardy Clause bars retrial on the conspiracy count because it requires relitigation

of issues already resolved in the Tenth Circuit’s reversal order, namely the falsity of the SEC

reports and the value of defendants’ personal travel.

        In Ashe v. Swenson,10 the Supreme Court held that the Double Jeopardy Clause

encompasses the corollary doctrine of collateral estoppel.11 “When an issue of ultimate fact has

once been determined by a valid and final judgment,” collateral estoppel precludes the same

parties from litigating that same issue in any future lawsuit.12 This principle bars only the

relitigation of “ultimate issues” decided in a prior criminal proceeding.13 Thus, collateral

estoppel will not apply if a rational jury could have based its verdict upon an issue not decided in

the prior case.14

        In Dowling v. United States,15 the Supreme Court declined to extend Ashe and collateral

estoppel as far as “to exclude in all circumstances . . . relevant and probative evidence that is

otherwise admissible under the Rules of Evidence simply because it relates to alleged criminal

conduct for which a defendant has been acquitted.”16 Thus, “if an issue determined in a prior

proceeding between the same parties . . . constitutes a necessary element of a subsequent

prosecution, collateral estoppel will likely operate as a complete bar to the latter prosecution;


        10
          397 U.S. 436 (1970).
        11
          Id. at 444-46, 445 n.10.
        12
          Id. at 443.
        13
          Smith v. Dinwiddie, 510 F.3d 1180, 1181 (10th Cir. 2007).
        14
          Id. (citing Schiro v. Farley, 510 U.S. 222, 232 (1994)).
        15
          493 U.S. 342 (1990).
        16
          Id. at 348.

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otherwise, the doctrine at most may forestall the presentation of particular evidence and

arguments.”17 A fact previously determined in a criminal case is not an “ultimate fact” unless it

was necessarily determined by the jury against the government and, in the second prosecution,

that same fact is required to be proved beyond a reasonable doubt in order to convict.18 In other

words, “[t]he key to reuse [of evidence] is independent significance: does the proof bear upon an

issue (or issues) materially different from those determined at the former trial?”19

         A.       Conspiracy Count 1

         Guided by these principles, the Court turns to defendants’ argument that certain facts

were “necessarily determined” by the Tenth Circuit and that those facts constitute “ultimate

issues” as to the conspiracy charge. Defendants argue that the judicially directed acquittals on

the wire fraud counts necessarily determined an ultimate issue of fact—that the SEC filings were

not false as the government failed to show that the use of the corporate airplane ever exceeded

$50,000 or 10% of either defendant’s salary in any single year. Because the government is

foreclosed from relitigating either the falsity of the SEC filings or the question of whether the

value of personal travel ever exceeded the SEC reporting threshold, defendants contend that the

conspiracy charge necessarily fails and must be dismissed.

         Counts 16-22 of the Indictment charged substantive wire fraud while Count 1 charges

conspiracy to commit wire fraud, money laundering and circumvention of internal controls.

These are distinct crimes having distinct elements. The elements of substantive wire fraud are


         17
          United States v. Dray, 901 F.2d 1132, 1136 (1st Cir. 1990) (citing United States v. Ricks, 882 F.2d 885,
889 (4th Cir. 1989), cert. denied, 493 U.S. 1047 (1990)).
         18
           Untied States v. Wells, 347 F.3d 280, 285 (8th Cir. 2003) (citing Dowling, 493 U.S. at 349-52).
         19
           Dray, 901 F.2d at 1138.

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(1) a scheme to defraud, (2) an interstate wire communication, and (3) a purpose to use the wire

communication to execute the scheme.20 This requires a showing that the wires were actually

used to further the scheme or artifice to defraud. And, in this case, the Tenth Circuit held that

because the SEC filings were required by law to be filed, the government must prove that they

were false in order to meet the third element.21

        By contrast, conspiracy requires proof that (1) the defendant entered into an agreement;

(2) the agreement involved a violation of the law; (3) one of the members of the conspiracy

committed an overt act; (4) the overt act was in furtherance of the conspiracy’s object; and (5)

the defendant willfully entered the conspiracy.22 The Court discusses each of the three objects of

the conspiracy in turn.

        Conspiracy to commit wire fraud

        To be guilty of conspiracy to commit wire fraud, the defendant must have the requisite

intent to commit wire fraud.23 However, there is no specific intent requirement regarding use of

the wire facilities.24 Conspiracy to commit wire fraud requires only that the government prove

intent to use the wires or that use of the wires in furtherance of the scheme was reasonably

foreseeable to the conspirators; defendant need not intend to cause the wire facilities to be used,




        20
         United States v. Lake, 472 F.3d 1247, 1255 (10th Cir. 2007) (citing United States v. Janusz, 135 F.3d
1319, 1323 (10th Cir. 1998)).
        21
          Id. at 1255-56 (citing Parr v. United States, 363 U.S. 370 (1960)).
        22
          United States v. Weidner, 437 F.3d 1023, 1033 (10th Cir. 2006).
        23
         United States v. Richards, 204 F.3d 177, 208 (5th Cir. 2000) (quotation omitted), overruled on other
grounds by United States v. Cotton, 535 U.S. 625, 631 (2002).
        24
          Id. (citation omitted).

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nor is there a requirement to show any actual wirings.25 Thus, the government’s burden is to

demonstrate beyond a reasonable doubt that the alleged conspirators agreed to engage in a

scheme to defraud in which they contemplated that the wire facilities would likely be used.26

        Courts often face difficulty in determining which facts have been previously decided by

the jury.27 The Tenth Circuit’s reversal of the wire fraud convictions, however, spelled out in

detail the basis for acquittal—that as a matter of law, there was insufficient evidence “from

which the jury could conclude beyond a reasonable doubt that any of the reports wired to the

SEC were false, fraudulent, or even misleading.”28 Under Parr, these reports were required by

law and because the government failed to prove that they contained anything false, the court

could not see how their filing advanced the allegedly fraudulent scheme or that defendants’

purpose in filing them was to advance the scheme.29 The court went on the explain why each of

the seven filed reports were not false or fraudulent as far as the trial evidence showed, noting that

even if the jury had been correctly instructed on the Parr requirement, it could not properly have

found that the reports were false or fraudulent.30 Specifically, the court held that whether the

reports were false depends on what is required to be reported and that the government did not


        25
          Id. (citations omitted); United States v. Wilburn, 979 F.2d 858 (Table), 1992 WL 339063, at *1 (10th Cir.
Nov. 17, 1992) (applying in a mail fraud case) (citing United States v. Dray, 901 F.2d 1132, 1137 (1st Cir.1990)).
Mail fraud is analogous to wire fraud. United States v. Puckett, 692 F.2d 663, 669 n.6 (10th Cir. 1982).
        26
          Richards, 204 F.3d at 208 (citations omitted).
        27
          See Ashe v. Swenson, 397 U.S. 436, 444 (1970) (explaining that when judgment of acquittal is based on a
general verdict, the reviewing tribunal must “examine the record of [the] prior proceeding, taking into account the
pleadings, evidence, charge and other relevant matter, and conclude whether a rational jury could have grounded its
verdict upon an issue other than that which the defendant seeks to foreclose from consideration.”).
        28
          United States v. Lake, 472 F.3d 1247, 1260 (10th Cir. 2007).
        29
          Id. at 1255-56.
        30
          Id. at 1257.

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show at trial that disclosure was required.31 After analyzing the reporting requirements for

personal compensation, the court held that the SEC filings were not false because there was no

evidence that the value of personal travel ever exceeded the reporting threshold.32

       Not surprisingly, defendants seize upon this language as necessarily establishing an issue

of ultimate fact. While it is undisputed that the Tenth Circuit’s reversal for insufficiency of the

evidence bars retrial of the substantive wire fraud and money laundering charges, the Court

disagrees with defendants’ extrapolation of this ruling to the conspiracy charges remanded for

retrial. Nothing in the opinion suggests that the court found that the wires were not intended or

reasonably foreseeable. Indeed, the court explained by way of example that “defendants may

have conspired to commit wire fraud without succeeding in committing wire fraud itself because

the filings with the SEC fortuitously turned out to be accurate.”33 And, the court directed that the

jury in any retrial be specifically instructed on the SEC standard.34 Defendants equate the

panel’s ruling that the government’s wire fraud evidence was insufficient as a matter of law with

a finding of fact for purposes of collateral estoppel. Although the Court doubts that this is the

intended or necessary effect of the Tenth Circuit’s ruling, it will proceed to analyze defendants’

collateral estoppel claim on this faulty premise.

        Even if certain facts were “necessarily determined” in the prior trial, however, those

facts must constitute an ultimate issue regarding the conspiracy count to be retried in order to be



       31
         Id. at 1257-58.
       32
         Id. at 1258.
       33
         Id. at 1263.
       34
         Id.

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subject to collateral estoppel. Defendants contend that in order to prove defendants had an

illegal agreement, the government must prove that the documents they intended to wire were

false, which requires a showing that the defendants’ personal travel had a value that exceeded the

SEC reporting threshold. Because the government is precluded from offering such evidence,

defendants argue that it cannot establish an illegal agreement existed. “Given that a substantive

and conspiracy offense involve separate elements, it is quite unlikely that a factual finding with

respect to any particular act is ‘essential’ to proving the elements of conspiracy.”35 The issue of

whether the wires were false is not an ultimate issue as to the charge of conspiracy to commit

wire fraud, as it is clear that the government need not show any wirings, much less false wirings,

to prove conspiracy to commit wire fraud. Thus, collateral estoppel does not act as a complete

bar to retrial of the conspiracy count.

         Plainly, this analysis begs the question: why would the Tenth Circuit have directed the

jury to be instructed on the SEC personal benefits regulation if evidence of the filings and the

value of defendants’ personal travel were precluded? Defendants argued at the hearing that

because they did not argue insufficiency of the evidence with respect to the conspiracy

conviction on appeal, the Tenth Circuit did not consider whether retrial was barred, suggesting

that the court’s opinion had unintended results. In other words, reading between the lines, the

Tenth Circuit suggests that if defendants had argued sufficiency of evidence, it would not have

remanded the conspiracy count for retrial. This Court disagrees with defendants’

characterization of the Tenth Circuit’s opinion, which clearly directs retrial of the conspiracy and

circumvention counts with a specific directive for instruction on the SEC regulation. If this

         35
            United States v. Yearwood, 518 F.3d 220, 229 (4th Cir. 2008) (discussing retrial on drug trafficking
conspiracy count after aquittal of subsequent crime of distribution of cocaine base).

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Court were to apply collateral estoppel in the manner advocated by defendants, it would be doing

so in contravention of that directive. The Court declines to take such a stance.

       As noted above, evidence of wire fraud from the prior trial is not precluded by the

reversal so long as it has independent significance to a conspiracy issue not actually determined

by the reversal.36 In this case, the government argues that collateral estoppel does not bar it from

using evidence of the SEC filings because it will not be proving that defendants caused the

submission of false wires to the SEC, but rather, that defendants agreed and intended for that to

happen and that use of the wires was reasonably foreseeable. In other words, the government

should be allowed to introduce evidence at the retrial that defendants made false SEC filings in a

conspiracy to commit wire fraud. The new jury would not have to conclude beyond a reasonable

doubt that defendants actually caused the submission of false wires, a necessary element of

substantive wire fraud, but not a necessary element of conspiracy. The admissibility of such

evidence is more appropriately decided on a motion in limine. As the Supreme Court noted in

Dowling, evidence of conduct for which a defendant had previously been acquitted was

admissible at a subsequent trial under Fed. R. Evid. 404(b).37 Should the government offer

evidence of the SEC filings and value of defendants’ personal travel as direct evidence of an

element of conspiracy to commit wire fraud, the Court will make an evaluation of its

admissibility under the Double Jeopardy Clause in the context of all the proof to be offered by




       36
         United States v. Dray, 901 F.2d 1132, 1138 (1st Cir. 1990).
       37
         493 U.S. 342, 349 (1990).

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the government of that element.38

         Finally, although not specifically addressed in their double jeopardy claims, defendants

argued at the hearing that the Tenth Circuit’s ruling created a legal impossibility because

defendants cannot conspire to commit a lawful act. In support of this argument, defendants point

to the language in the Tenth Circuit opinion that “even if the jury had been correctly instructed,

it could not properly have found that the reports were false or fraudulent.”39 As a result,

defendants are charged with a conspiracy to commit a series of lawful acts because it is not a

crime to submit true statements to the SEC. Defendants overlook, however, the language in the

Tenth Circuit opinion that, “[o]f course, a filing required by law could be used to further a

scheme if it was itself false or fraudulent; but the government did not show that there was

anything misleading in the reports.”40 Thus, at best, the effect of the ruling was to create a

factual rather than legal impossibility, which is not a defense to conspiracy.41 The Circuit

recognized as much when it explained, “[f]or example, the defendants may have conspired to

commit wire fraud without succeeding in committing wire fraud itself because the filings with

the SEC fortuitously turned out to be accurate.”42 Moreover, the law is well settled that if the

object of a conspiracy is lawful, the conspiracy is still criminal if unlawful means are intended or



         38
            See United States v. Mahaffy, 499 F. Supp. 2d 291, 297-98 (E.D.N.Y. 2007), aff’d 2008 WL 2675798 (2d
Cir. July 7, 2008) (discussing retrial of conspiracy to commit securities fraud charge after acquittal of substantive
securities fraud charge where government did not contest the jury necessarily decided that defendant’s statement to
the SEC was not materially false).
         39
           Lake, 472 F.3d at 1257.
         40
           Id. at 1255.
         41
           See United States v. Palmer, 203 F.3d 55, 64 n.3 (1st Cir. 2000) (collecting cases).
         42
           Lake, 472 F.3d at 1263.

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reasonably foreseeable.43 The Court declines to dismiss Count 1 on these grounds.

        Conspiracy to Circumvent Internal Controls

        Likewise, the government is not precluded from introducing evidence of value of the

flights with respect to the charge of conspiracy to circumvent internal controls and, necessarily,

the substantive circumvention counts. The Tenth Circuit set aside the substantive circumvention

convictions, but not on sufficiency of the evidence grounds. Instead, the court found reversible

error based on this Court’s failure to instruct the jury on what disclosure was required by the

SEC with respect to defendants’ personal use of the corporate aircraft with respect to the D & O

forms.44 The court explained,

                 As we previously discussed in setting aside the wire-fraud
                 convictions, Regulation S-K required the disclosure of an
                 executive’s personal use of corporate aircraft only if the additional
                 cost incurred by the corporation exceeded a threshold equal to the
                 lesser of $50,000 or 10% of the executive’s salary plus bonuses
                 during the year, and the government offered no substantial proof
                 that this threshold was ever exceeded by either defendant. Thus,
                 there was no evidence that the defendants’ failure to disclose
                 information in the D & O forms ever caused a material omission in
                 SEC reports. To be sure, this fact is not dispositive of
                 defendants’ intent. They may have thought that there was a risk
                 that their travel would be publicly reported, and fear of such
                 reporting may have caused them to refuse to report their personal
                 travel on the D & O forms. Nevertheless, in assessing the state of
                 mind of each defendant, the jury would likely be influenced by
                 knowing that the omission on the D & O forms apparently did not
                 cause any error in the reports to the SEC.45

         The defendants’ attempt to extrapolate the Tenth Circuit’s language regarding


        43
          Pettibone v. United States, 148 U.S. 197, 203 (1893); United States v. Kendall, 766 F.2d 1426, 1431 (10th
Cir. 1985).
        44
          Lake, 472 F.3d at 1261-62.
        45
          Id. at 1262 (emphasis added).

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insufficient evidence of the falsity of the SEC filings in the wire fraud charges is foreclosed by

the court’s own language quoted above. Unlike the wire fraud convictions, the Tenth Circuit did

not reverse the circumvention counts on substantial evidence grounds. And, unlike the SEC

filings in the wire fraud counts, the circumvention counts do not require the government to prove

that the D & O forms were in fact false; instead, the government must show that defendants’

failure to report personal use of corporate aircraft was made with the requisite intent to

circumvent or fail to implement a system of internal accounting controls or falsification of a

book, record or account.46 In order to prove conspiracy to circumvent internal controls, the

government must show that the conspirators agreed to commit an offense that requires knowing

and willful circumvention of internal controls instituted to satisfy SEC requirements.47 In order

for a jury to assess the defendants’ intent in not reporting the corporate airplane travel, the Court

must instruct on what disclosure was required by the SEC. Thus, evidence of the value of the

flights would be relevant both to the issue of materiality of the omission and defendants’ intent.

Otherwise, this Court would be left with the panel’s directive to instruct the jury as to the S-K

standard, without any evidence of value. As discussed above, the Court declines to take such an

inconsistent position absent a directive from the Tenth Circuit.

       Conspiracy to Commit Money Laundering

       Defendants are also charged in Count 1 with conspiracy to commit money laundering in

violation of 18 U.S.C. § 1957. The elements of a § 1957 violation are that “(1) the defendant

engage or attempt to engage (2) in a monetary transaction (3) in criminally derived property (4)



       46
         Id. at 1261.
       47
         Id. at 1263.

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knowing that the property is derived from unlawful activity, and (5) the property is, in fact,

derived from ‘specified unlawful activity.’”48 Although Count 1 does not identify the “specified

unlawful activity,” based on the two prior trials and the substantive money laundering counts, it

is clear that the activity is the alleged wire fraud that was reversed with prejudice by the Tenth

Circuit.49 Because the substantive money laundering counts depended upon conviction for wire

fraud, the Tenth Circuit also reversed those counts with prejudice.50

         Defendants concede that because the success of the object offense is not necessary for a

conspiracy conviction, a defendant need not engage in a financial transaction with the proceeds

of a specified unlawful activity to be guilty of conspiracy to commit money laundering. Instead,

they argue, a defendant must agree to engage in a financial transaction with the proceeds of an

unlawful activity. Defendants assert that if there is no specified unlawful activity, then there can

be no money laundering; the same is true for conspiracy to commit money laundering, because

the defendant must know that the property in question is “criminally derived.” Thus, defendants

contend, the government is precluded from offering any evidence that the property was

“criminally derived” based on the substantive wire fraud counts, as they were dismissed with

prejudice. To do so, defendants argue, would violate the Double Jeopardy Clause, just as

offering evidence to suggest the SEC reports were false would undermine the same

Constitutional guarantee.


         48
         United States v. Massey, 48 F.3d 1560, 1565 (10th Cir. 1995) (quoting United States v. Lovett, 964 F.2d
1029, 1041 (10th Cir. 1992)).
         49
           Lake, 472 F.3d at 1260. Neither the circumvention of internal control nor the conspiracy charges can
serve as “specified unlawful activity” under § 1957; those crimes are set out in §§ 1956(c)(7) and 1961 and do not
include a violation of 15 U.S.C. § 78m or 18 U.S.C. § 371.
         50
           Id.

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       Although labeled as a double jeopardy claim, defendants do not readily explain how

retrial on this charge is a violation of the Double Jeopardy Clause and acknowledge that the

essence of their motion to dismiss this charge is failure state a claim. In any event, to obtain a

conviction for money laundering conspiracy, the government must prove that (1) there was an

agreement between two or more persons to commit money laundering and (2) that the defendant

joined the agreement knowing its purpose and with the intent to further the illegal purpose.51

Defendants cite no authority for their argument that if there is no specified unlawful activity,

there can be no conspiracy to commit money laundering. In fact, the government need not have

proven an actual violation of § 1957, as the law is well settled that in a money laundering

conspiracy case, the defendant need not actually commit the alleged specified unlawful

activity.52 That the conspiracy cannot actually be realized because of facts unknown to the

conspirators is irrelevant.53 Defendants’ motion to dismiss this charge is denied.

       B.       Conformity of Count 1

       In the event the Court permits the government to pursue any portion of the conspiracy

charge, defendants argue it must dismiss a number of general allegations in Count 1 that assert

abandoned or lawful objects of the conspiracy. Defendants also argue that the Double Jeopardy

Clause requires dismissal of those alleged overt acts that predate the start of the alleged

conspiracy that purportedly furthered a “scheme to commit” the now dismissed wire fraud

charges, as there is no longer a scheme. The Court questions whether any such rulings on the



       51
         United States v. Fuchs, 467 F.3d 889, 906-07 (5th Cir. 2006) (citations omitted).
       52
         United States v. Martinelli, 454 F.3d 1300, 1312 (11th Cir. 2006) (collecting cases).
       53
         Untied States v. Wallace, 85 F.3d 1063, 1068 (10th Cir. 1996).

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scope of the conspiracy charge implicate defendants’ “right not to be tried” so as to permit a

collateral order appeal under Abney v. United States.54 In fact, many of defendants’ claims are

evidentiary in nature and are more properly dealt with in motions in limine or after the evidence

is presented at trial. The Court also notes that defendants have moved to strike such allegations

and overt acts based on Fed. R. Crim. P. 7(d).55 Nevertheless, because several of the issues

raised by defendants at least implicate the Double Jeopardy Clause, the Court makes the

following analysis and rulings.

       1.       Objects of the Conspiracy

       Defendants argue that the “objects” of the conspiracy are limited to wire fraud, money

laundering and circumvention of internal controls. Instruction 17 stated that the jury’s verdict

must be unanimous with respect to those three unlawful objectives of the conspiracy. Paragraph

22 of the Indictment, however, spells out the objects of the conspiracy and scheme to defraud to

also include obtaining compensation under false pretenses, perverting corporate programs for

personal profit, seeking systematically to loot Westar of money and assets, etc. The Tenth

Circuit found that the required wirings, which were “the government’s sole challenge to the

reports of defendants’ compensation,” were not false, and thus were fatal to the scheme charged.

As a result, defendants argue, there is no longer a scheme, and the objects listed must be objects

of the conspiracy and not of any scheme to defraud. Defendants also argue that because the

object of a conspiracy must be unlawful, the other lawful objects set out in the Indictment must

be dismissed.



       54
         431 U.S. 651, 662 (1977).
       55
         (Doc 918.)

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        Defendants’ request to “conform” the objects set forth in the Indictment is based on the

inaccurate premise that “the object of a conspiracy must be unlawful,” and that certain conduct

alleged as objects in Paragraph 22 “is not unlawful as it is required to be.” The law is well

settled, however, that if the object of a conspiracy is lawful, the conspiracy is still criminal if

unlawful means are intended or reasonably foreseeable.56 In fact, as previously discussed, the

government does not have to prove that defendants specifically intended to use wire

communications, but only that “an agreement to defraud plus knowledge that the use of the mails

[or wires] was reasonably foreseeable.”57

        By way of example, the government posits that

                 even if “perverting corporate programs” (Indictment ¶ 22B) is not
                 specifically proscribed in Title 18 of the United States Code, it still
                 can be the object of a conspiracy to commit wire fraud.
                 Specifically, a conspiracy to commit wire fraud can exist if the
                 Defendants sought to pervert corporate programs with the intended
                 or foreseeable use of false or misleading wires. That makes sense
                 since, in a conspiracy to commit wire fraud, the wire fraud may not
                 be an end in itself, but is being done to achieve the end of
                 obtaining money or other property. On the other hand, the wire
                 fraud in a conspiracy to commit wire fraud may be an end in itself
                 if the purpose of the wire is to cover up illegal conduct.

        Further, defendants mistakenly conclude the Indictment is limited to an agreement to

electronically file with the SEC documents that falsely reported their compensation with respect

to their personal use of corporate aircraft. Certainly, the substantive wire fraud and



        56
          United States v. Kendall, 766 F.2d 1426, 1431 (10th Cir. 1985) (“A conspiracy is a combination of two or
more persons acting in concert to accomplish an unlawful purpose or to accomplish a lawful purpose by unlawful
means.”).
        57
          United States v. Richards, 204 F.3d 177, 208 (5th Cir. 2000) (quotation omitted), overruled on other
grounds by United States v. Cotton, 535 U.S. 625, 631 (2002); United States v. Reed, 721 F.2d 1059, 1060-61 (6th
Cir. 1983) (citing United States v. Feola, 420 U.S. 671 (1975)).

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circumvention counts depended on allegations involving the lack of proper internal or external

disclosure of flights. But the conspiracy count alleges years’ worth of corporate transactions as

part of a conspiracy to “loot” Westar. As this Court observed in its lengthy order denying

defendants’ Rule 29 motions,58 for purposes of the conspiracy charge, there is abundant evidence

of wire fraud communications in the various transactions specified in the overt acts, separate and

apart from the proxy filings. This finding was not challenged on appeal, nor did the Tenth

Circuit reverse the conspiracy charge on sufficiency of the evidence grounds. Thus, the

Indictment is not limited in the manner defendants suggest.

       2.       Overt Acts

       The Indictment lists twenty overt acts that defendants allegedly committed “[i]n

furtherance and execution of the objects of said conspiracy and scheme to defraud.” Defendants

argue that without a scheme to execute, the overt acts listed in Paragraphs 23A - T of the

Indictment are left to be only for the purpose of “furthering the conspiracy,” and each overt act

must be analyzed with an eye toward whether it is in furtherance of one or more of the three

objects, wire fraud, circumvention and money laundering. Only Paragraph 24A, which alleges

false reporting with respect to defendants’ use of the corporate aircraft, survives this analysis

because the others do not contemplate a wiring or show that a false wiring was intended.

       In support of their arguments, defendants quote from this Court’s June 27, 2007 order

denying the government’s motion to reinstate pretrial restraining orders with respect to

advancement of attorney fees59 Within the limited context of that issue, the Court expressed



       58
         (Doc. 679.)
       59
         (Doc. 836.)

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concerns about the government’s ability to seek forfeiture of certain assets that constitute or are

derived from a scheme and conspiracy to commit money laundering and wire fraud. The Court

stated,

                   Quite simply, there is no longer a “scheme” that can serve as the
                   underlying basis for the forfeiture count. Instead, the only
                   remaining basis for forfeiture is the conspiracy charge. . . . This is
                   particularly critical to the government’s theory with respect to the
                   advancement of legal fees, as it was premised on defendants’
                   fraudulent assumption of employment with Westar. While the
                   scheme allegedly predated defendants’ respective dates of
                   employment, it did not morph into a conspiracy until defendant
                   Lake actually joined the Company in 1998. Thus, the Court
                   questions whether probable cause has been established as to
                   certain assets in light of the reversal with prejudice of the wire
                   fraud counts.60

          In other words, this Court denied pretrial restraint of the advanced attorneys fees, a

property interest defendants acquired at the time of their respective employment, because the

conspiracy, at least as charged in the Indictment, commenced in 1998, at or around the time

defendant Lake commenced employment. This order denying pretrial restraint is in no way a

final decision on the forfeitability of this asset. Only if the jury convicts the defendants of the

predicate offenses of conspiracy to commit wire fraud or conspiracy to commit money

laundering, will there be a trial on the forfeiture count. Defendants attempt to extrapolate this

very limited ruling to the remaining conspiracy charge, going so far as to claim the Court has

ruled there is no longer a scheme in the context of that count. Clearly, that was not the case, as

Count 1 charges a conspiracy to create a scheme to defraud Westar.

          The government responds that a more comprehensive review of the evidence in the



          60
            (Doc. 836 at 15.)

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record would support a reasonable jury in finding that a conspiracy was formed by defendants as

early as the first quarter of 1995, before Wittig officially became employed by Westar. The

government cites to defendant Lake’s testimony during the second trial that Wittig called him at

Bear Stearns during the first quarter of 1995 and discussed diversification strategies of his future

employer, Westar. Wittig then met with Lake, and the meeting commenced with a wire

communication between the alleged conspirators. The government asserts that Lake even

bragged that the diversification of Westar was his idea. Thus, the government argues, there is

evidence of overt acts and wire communications involving defendants that predate their

employment with Westar, from which a reasonable jury could find the scheme morphed into a

conspiracy in the first quarter of 1995, with the phone call between defendants. Such evidence

would form the basis for forfeiture of property rights obtained by defendants by virtue of

assuming their employment under false pretenses.

        Defendants cry foul at the government’s position, arguing that the government seeks to

substantively amend the Indictment to revise the beginning of the conspiracy back to 1995.

This, defendants contend, constitutes an impermissible constructive amendment of the

Indictment.      An indictment is “constructively amended if the evidence presented at trial,

together with the jury instructions, raises the possibility that the defendant was convicted of an

offense other than that charged in the indictment.”61 “This doctrine is rooted in the Fifth

Amendment right to be tried only for charges upon indictment by a grand jury.”62 By contrast, a

variance occurs when the charging terms and elements stated in the indictment remain unaltered,


        61
          United States v. Brown, 400 F.3d 1242, 1254 (10th Cir. 2005) (quoting United States v. Apodaca, 843
F.2d 421, 428 (10th Cir. 1988) (citing Stirone v. United States, 361 U.S. 212, 215-19 (1960)).
        62
          Id.

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but the evidence at trial proves facts other than those alleged in the indictment.63 The

government states that where it previously relied on circumstantial evidence to establish when

the conspiracy first commenced, thanks to Lake’s testimony, it now has concrete evidence of an

earlier conspiracy start date than alleged in the Indictment. This scenario describes a variance

rather than a constructive amendment. Variance between the indictment and the proof is fatal

and warrants overturning a criminal conviction only upon a showing of substantial prejudice.64

Variances such as the one in this case relating to discrepancies in the timing of the offense

charged are not prejudicial and thus not fatal to the Indictment.65 Moreover, a limiting jury

instruction may be appropriate to mitigate any possible prejudice occurring from such a

nonmaterial variance.66

         As previously discussed, it is clear that the government need not show any wirings to

prove a conspiracy to commit wire fraud—it is enough to show that the use of wires in

furtherance of the scheme was contemplated by or reasonably foreseeable to the conspirators.67

As this Court observed in the order denying defendants’ Rule 29 motions after the second trial,

there is abundant evidence of wire communications in the various transactions specified in the


         63
            United States v. Ailsworth, 138 F.3d 843, 849 (10th Cir. 1998) (finding variance because indictment
charged participation in widespread conspiracy and evidence only established defendant participated with one other
person in one-day conspiracy).
         64
           Id.
         65
          See United States v. Johnson, 248 F.3d 655, 665 (7th Cir. 2001) (explaining the introduction of evidence
of pre-conspiratorial events does not by itself create a constructive amendment to the indictment, especially when the
evidence is found to be intricately related to the crime charged).
         66
          See United States v. Caballero, 277 F.3d 1235, 1243 (10th Cir. 2002) (finding no prejudicial variance
though jury presented with different time and place of offense from indictment because jury instructions to disregard
discrepancy prevented prejudicial deliberations).
        67
           United States v. Richards, 204 F.3d 177, 208 (5th Cir. 2000) (quotation omitted), overruled on other
grounds by United States v. Cotton, 535 U.S. 625, 631 (2002).

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overt acts, separate and apart from the proxy filings with the SEC. This finding was not

challenged on appeal. Evidence of other wires in connection with the overt acts included faxes,

emails, other SEC filings and telephone calls. The government submits that evidence at the third

trial will include additional evidence68 of wires including, for example, the wiring of proceeds

from Lake’s misuse of the loan program to his bank account; the faxed signature pages for the

employment agreements in September 2002; and a fax from Lake to Mike Macris at Cahill

Gordon concerning Guardian. Thus, there is no basis for this Court to conform any of the overt

acts specified in Paragraph 23 of the Indictment.

         3.       Timing of the Conspiracy

         Defendants argue that the conspiracy charge should be conformed to eliminate all

allegations prior to February 18, 1999 because of the verdict on Count 2, and prior to April 14,

1999 because of the verdict on Count 19. Count 2 is the first circumvention count and is alleged

to have been committed by Wittig “on or about 2/1999” while the other circumvention counts are

alleged to have occurred after “3/13/2000.” Defendants argue that the simultaneous acquittal of

Lake69 and conviction of Wittig on Count 2 can only mean that the jury rejected the necessary

premise that “the crime was committed after [Lake] joined the conspiracy.” Thus, defendants

argue, the jury’s verdict established that the earliest date the conspiracy existed was February 18,

1999, the date charged in Count 3. As a result, if Count 1 is not dismissed, the jury’s acquittal of

Lake on Count 2 establishes that the earliest date for the conspiracy as February 18, 1999.


         68
            The Court notes that nothing in the Tenth Circuit’s order precludes the government from offering in the
retrial, additional evidence, or evidence offered by the defendants in the first or second trial.
         69
          The jury was duly instructed that a defendant could be convicted for the conduct of the co-defendant if the
defendant either aided and abetted the co-defendant or if the defendant had Pinkerton liability as a co-conspirator of
the co-defendant. See Instruction 31(Doc. 528-2 at 7.)

                                                         22
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Likewise, Count 19 is the first in chronological order of seven counts of wire fraud, charging

Wittig with an April 14, 1999 wire transmission. Because the jury acquitted Lake but convicted

Wittig, defendants argue, there was no illegal agreement that existed at the time Count 19 was

allegedly committed and the conspiracy did not exist as of April 14, 1999. Accordingly, any

allegations in the Indictment that predate or reference acts that occurred prior to April 14, 1999

violate the Double Jeopardy Clause, and requires Paragraphs 2, 21, and 23B - D to be stricken or

revised.

       The Court disagrees. There is no way to determine with certainty that the jury acquitted

Lake on Count 2 or Count 19 solely because he did not join the conspiracy prior to February 18

or April 14, 1999, respectively. The jury convicted both defendants of the conspiracy count,

which included more than conduct relating to airplane use and D & O Questionnaires. Thus, the

jury may have well found that the conspiracy with respect to non-disclosure of airplane use was

not part of the conspiracy prior to February or April 1999, but other objects of the conspiracy to

commit wire fraud, such as obtaining unauthorized compensation and looting, existed prior to

that date. Because it is impossible to tell from the general verdicts what the basis for acquittal

was on either Count, the Court declines to revise the timing of the Indictment as requested.

       C.      Forfeiture Count 40

       Defendants argue that even if the Court does not dismiss the Indictment in its entirety, it

must nevertheless dismiss those portions of Count 40 that the jury determined were not subject

to forfeiture. Defendants argue that the elimination of the wire fraud predicate confines the

scope of the forfeiture because any forfeiture can be premised only on the conspiracy count,

which has been correspondingly narrowed due to the Tenth Circuit’s dismissal of the wire fraud


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and money laundering charges. Defendants also argue that the specialized forfeiture verdicts in

favor of defendants, which the government did not appeal, preclude the government from

seeking again the forfeiture of a substantial amount of property identified in the Indictment.

            The Court denies defendants’ motions. First, the Court has denied defendants’ request to

conform the Indictment to dismiss any alleged overt acts that purportedly furthered a “scheme to

commit” the now dismissed wire fraud charges. Thus, the Court also denies defendants’ request

to limit the scope of the forfeiture count to exclude any property obtained prior to the

conspiracy.70

            Second, the Court declines to give preclusive effect to the forfeiture verdicts. “[W]hen

an issue of ultimate fact has once been determined by a valid and final judgment,” collateral

estoppel precludes the same parties from litigating that same issue in any future lawsuit.”71

Unlike the Tenth Circuit’s mandate reversing the wire fraud convictions with prejudice, the

mandate with respect to the forfeiture count is not a final judgment, as it was reversed and

remanded for retrial.72 The Tenth Circuit has recognized that a judgment has no preclusive

effect, for res judicata and collateral estoppel purposes, if it has been vacated, reversed or set

aside.73 The fact that the government did not appeal the forfeiture verdicts does not result in an

adjudication on the merits, when the verdict is reversed and remanded for retrial. Simply put,

the forfeiture verdicts are not a “valid and final” judgment.

            70
              This denial is without prejudice to renew any such motion at the close of the government’s evidence at
retrial.
            71
              Ashe v. Swenson, 397 U.S. 436, 443 (1970).
            72
              United States v. Lake, 427 F.3d 1247, 1267(10th Cir. 2007).
         73
            Romano v. Gibson, 239 F.3d 1156, 1179 (10th Cir. 2001) (citing United States v. Lacey, 982 F.2d 410,
412 (10th Cir. 1992); United States v. Sackett, 114 F.3d 1050, 1052 (10th Cir. 1997)).

                                                            24
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       In so ruling, the Court notes that on retrial, the predicate offenses are limited to

conspiracy to commit wire fraud and conspiracy to commit money laundering, as the dismissed

substantive wire fraud charges can no longer serve as a basis for forfeiture.74

       IT IS THEREFORE ORDERED BY THE COURT that defendants’ Motion to

Dismiss (Doc. 888), Supplemental Motion to Dismiss (Doc. 913), Joint Supplemental Motion to

Dismiss Count 40 (Doc. 926) and defendant Wittig’s Motion to Strike or Otherwise Conform

Count 1 (Doc. 915) are DENIED.

       IT IS SO ORDERED.

       Dated this 1st day of August 2008.

                                                             S/ Julie A. Robinson
                                                            Julie A. Robinson
                                                            United States District Judge




       74
         See Special Verdict Forms (Docs. 543, 535.)

                                                       25
